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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re                                            )
                                                 )
11380 Smith Road, LLC                            )   Case No. 19-10286 (TBM)
EIN: XX-XXXXXXX                                  )
                                                 )
                                                 )   Chapter 7
   Debtor.                                       )


                STIPULATED RESPONSE TO INVOLUNTARY PETITION

          The captioned debtor, 11380 Smith Road, LLC (the “Debtor”), and petitioning creditor,
Mid American Plastic Systems (“MAPS”), by and through their respective undersigned counsel,
for their Stipulated Response to Involuntary Petition.
        1.      On January 16, 2019, MAPS filed the captioned Involuntary Petition against the
 Debtor (the “Involuntary Case”).
        2.      On January 18, 2019, undersigned counsel accepted service of the Subpoena for the
 Involuntary Petition.
        3.      The Involuntary Petition was filed under Chapter 7 of the Bankruptcy Code.
        4.      The Debtor confesses the Involuntary Petition except the Debtor converts this case
 to a case under Chapter 11 of the Bankruptcy Code.
        5.      The Debtor asserts that relief under Chapter 11 is appropriate because the Debtor
 is in the process of finalizing the sale of its primary asset 11380 Smith Road, Aurora, Colorado,
 80010.
        6.      Counsel for the Debtor has conferred with counsel for the petitioning creditor who
 consents to this case preceding under Chapter 11 of the Bankruptcy Code.

DATED February 6, 2019                               Respectfully submitted,
                                                     BUECHLER & GARBER, LLC

                                                     /s/ Aaron A. Garber
                                                     ___________________________
                                                     Aaron A. Garber, #36099
                                                     999 18th Street, Suite 1230-S
                                                     Denver, Colorado 80202
                                                     720-381-0045 / 720-381-0382 FAX
                                                     aaron@bandglawoffice.com
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So Stipulated to this 6th day of February, 2019,



/s/Duncan E. Barber
Duncan E. Barber #16768
Shapiro Bieging Barber Otteson,LLP
7979 E. Tufts Avenue
Ste. 1600
Denver, CO 80237-3358
Telephone: 720-448-5432
Email: dbarber@sbbolaw.com
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                               CERTIFICATE OF SERVICE

         The undersigned certifies that on February 6, 2019 I served by ECF a copy of the
STIPULATED RESPONSE TO INVOLUNTARY PETITION on all parties against whom
relief is sought and those otherwise entitled to service pursuant to FED.R.BANKR.P. and these
L.B.R. at the following addresses:

 Duncan E. Barber                               US Trustee
 7979 E. Tufts Avenue                           Byron G. Rogers Federal Building
 Ste. 1600                                      1961 Stout St. Ste. 12-200
 Denver, CO 80237-3358                          Denver, CO 80294-6004


                                          By: /s/ Nichole Garber
                                              For Buechler & Garber, LLC
